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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

COMMISSION FOR LAWYER DISCIPLINE, §
                                  §
           Plaintiff,             §
                                  §
v.                                §                                     1:20-CV-153-RP
                                  §
BRANDI K. STOKES,                 §
                                  §
           Defendant.             §

                                               ORDER

        Before the Court are Plaintiff Commission for Lawyer Discipline’s (“CLD”) motions to

remand, (Dkt. 11), and for sanctions, (Dkt. 12), as well as Defendant Brandi K. Stokes’s (“Stokes”)

February 10, 2020, correspondence to the Court, (Dkt. 4), motion to “compel voir dire” of the

undersigned, (Dkt. 5), motion to dismiss, (Dkt. 6), motion to vacate the Court’s Order to

supplement the record with state court pleadings, (Order, Dkt. 7; Mot., Dkt. 8); motion for de novo

review of United States Magistrate Judge Mark Lane’s denying her application to proceed in forma

pauperis, (Text Order, Feb. 11, 2020; Mot., Dkt. 9), application for temporary restraining order and

injunction, (Dkt. 19), and motion to declare certain orders of a state-court judge void, (Dkt. 20). In

addition, Stokes has filed “running responses” to CLD’s motions. (Dkt. 14, 15). Stokes, a lawyer, is

proceeding pro se in this matter.

        After considering the record—including this and related cases’ procedural histories and

Stokes’s individual history as a litigant—as well as the facts and the relevant law, the Court grants

CLD’s motion to remand, denies all other motions as moot, and bars Stokes from filing in this

Court without obtaining prior approval from a federal district or magistrate judge.

        Stokes also filed a motion to disqualify the undersigned and Judge Lane. (Dkt. 3). Though

the Court arguably does not have jurisdiction to consider this case, as discussed below, the Court



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transferred the case to Chief Judge Orlando L. Garcia for the purpose of deciding the motion to

disqualify. (Order, Dkt. 17, at 1 (citing Tramonte v. Chrysler Corp., 136 F.3d 1025, 1028 (5th Cir. 1998)).

On March 9, 2020, Chief Judge Garcia issued an order denying Stokes’s motion and transferring the

case back to the undersigned’s docket. (Dkt. 21).

          In his Order, Judge Garcia also outlined this and related cases’ procedural history as follows:

          In this case, Defendant has attempted to remove a state-court disciplinary suit
          against her brought by the Commission for Lawyer Discipline. . . . The Court’s
          records indicate that this is just one of many cases in which Defendant has tried to
          remove similar cases to federal court, purportedly pursuant to the Geneva
          Convention and/or other inapplicable doctrines. See, e.g., Commission for Lawyer
          Discipline v. Stokes, No. 1: 18-cv-323-RP (W.D. Tex. October 23, 2018); Commission for
          Lawyer Discipline v. Stokes, No. 1:19-cv-754-RP (W.D. Tex. October 23, 2018); see also
          Stokes v. Corsbie et al., No. 1: 17-cv-00115-RP (W.D. Tex. December 20, 2017) (docket
          no. 34); Stokes v. Corsbie et al., No. 1:17-cv-00116-RP (W.D. Tex. December 20, 2017)
          (docket no. 23); Stokes v. Sulak, No. 1: 17-cv-01 044-RP (W.D. Tex. July 26, 2018).

          On January 27, 2020—in a separate case involving Defendant—Judge Pitman issued
          an order adopting Judge Lane’s Report and Recommendation that the case be
          remanded for lack of subject matter jurisdiction. Commission for Lawyer Discipline v.
          Stokes, No. 1:19-cv-754-RP (W.D. Tex. October 23, 2018) (docket no. 26). In
          addition, Judge Pitman’s prior order warned Defendant that “additional frivolous
          filings or filings made for an improper purpose will likely lead to sanctions.” Id.

(Dkt. 21 at 1–2). In fact, this case is the same state case (No. D-1-GN-18-000502) as the one the

Court previously considered in Commission for Lawyer Discipline v. Stokes, No. 1:19-cv-754-RP.

          There is no meaningful difference between Stokes’s claims in this case at the time it was

previously remanded and the ones she raises now. The reasoning previously explained in Judge

Lane’s report and recommendation and the undersigned’s Order adopting it in Commission for Lawyer

Discipline v. Stokes, No. 1:19-cv-754-RP1 applies with equal force here. Repeatedly, the Court has

determined that it lacks subject-matter jurisdiction over Stokes’s claims and has warned Stokes that

continuing the same practices may result in sanctions. And repeatedly, Stokes—a Texas-licensed

lawyer—has contumaciously attempted to evade these orders’ effects.


1   (R&R, Dkt. 20; Order, Dkt. 26).


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        Accordingly, IT IS ORDERED that CLD’s motion to remand, (Dkt. 11), is GRANTED.

This case shall be REMANDED to the 419th Civil District Court of Travis County, Texas.

        IT IS FURTHER ORDERED that all other pending motions or requests for relief in this

case are MOOT.

        IT IS FINALLY ORDERED that Stokes is BARRED FROM FILING complaints,

removing cases, or otherwise initiating litigation in the Western District of Texas without obtaining

prior approval from a federal district or magistrate judge in the District. Stokes may not file anything

further in this case except, if she chooses, a notice of appeal (subject to the limits imposed by 28

U.S.C. § 1447(c)–(d) and Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 711–12 (1996)).



        SIGNED on March 10, 2020.



                                                       _____________________________________
                                                       ROBERT PITMAN
                                                       UNITED STATES DISTRICT JUDGE




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